UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    UNITED STATES OF AMERICA,

                         v.                                          24-CR-556 (DEH)
    ERIC ADAMS,
                                                                          ORDER
                                Defendant.



DALE E. HO, United States District Judge:

         Before the Court are several motions requesting leave to file amicus briefs. The deadline

for objections to such motions was March 5, 2025. See ECF No. 136. The Court has received

no objections to the motions for leave to file an amicus brief by the following individuals and

entities: Common Cause (ECF Nos. 124, 125, 127 1); the Separation of Powers Clinic at The

Catholic University of America’s Columbus School of Law (ECF No. 143); Lt. General Michael

Flynn (ret.), et al. (ECF No. 147); Former Federal Court Jurists (ECF No. 150); and State

Democracy Defenders Fund, et al. (ECF NO. 152 2). These motions are therefore GRANTED.

         The parties raised objections to a motion for leave by Former United States Attorneys

(ECF No. 128). The Court has considered the parties’ objections, and GRANTS the motion for

leave to file an amicus brief. See United States v. DiCristina, 726 F.3d 92 (2d Cir. 2013) (noting

amicus brief of former United States Attorneys); United States v. Stein, 541 F.3d 130, 135 (2d

Cir. 2008) (same). The proposed amici who filed ECF No. 128 also filed a motion requesting




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    ECF Nos. 124, 125, and 127 were filed by the same party.
2 ECF No. 152 was submitted to chambers via email on February 28, 2025, but due to technical
issues, was not filed on ECF until the next business day, March 3, 2025. The Court deems the
motion timely.
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that the Court appoint a separate amicus in this case, see ECF No. 135; in light of the Court’s

Order appointing an amicus, see ECF No. 136, this motion is DENIED as moot.

       There have been several voluminous pro se filings received by the Court, which have not

been filed on ECF. Leave is DENIED for these pro se parties to file amicus briefs; such filings

will not be considered by the Court and will not be placed on the docket, but will be maintained

in a chambers file.

       Finally, in light of the amended brief filed by Court-appointed amicus at ECF No. 159,

the Clerk of Court is respectfully directed to strike from the docket the original version of the

brief, at ECF No. 158.

       Accordingly, the Clerk of Court is respectfully directed to close ECF Nos. 124, 125, 127,

128, 135, 143, 147, 150, and 152; and to strike ECF No. 158.



       SO ORDERED.



Dated: March 11, 2025
       New York, New York



                                                                        DALE E. HO
                                                                 United States District Judge




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